                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

UNITED STATES OF AMERICA

v.                                                       Case No.: 3:21−mj−02139−HBG

CLIFFORD JAMES METEER



                                                   ORDER



     The Court finds after review of the defendant's sworn Financial Affidavit that the above defendant may

not have the funds to retain an attorney of the defendant's choice and that the defendant wants to be

represented by counsel.

     Accordingly, I find that the defendant qualifies for appointment of counsel and it is ORDERED the

following counsel will be appointed to represent the defendant:


Benjamin Gerald Sharp
Federal Defender Services of Eastern Tennessee, Inc. (Knox)
800 South Gay Street
Suite 2400
Knoxville, TN 37929−9714

865−637−7979



ENTER.

                                                   s/H Bruce Guyton
                                                   UNITED STATES MAGISTRATE JUDGE




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